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1 || Andrea M. Kimball, State Bar No. 196485 FAL cD
Michelle A. Herrera, State Bar No. 209842 a: yl
2 || LUCE, FORWARD, HAMILTON & SCRIPPS LLP 08 MAR -5 PH o
600 West Broadway, Suite 2600 eT couRT
3 || San Diego, California 92101-3372 . CuER NS gis Te CALIFORNIA
Telephone No.: 619.236.1414 Hers 8
4 || Fax No.: 619.232.8311 cf pepuTY
5 || Attorneys for Plaintiff MedImpact Healthcare Systems, Inc.
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8 UNITED STATES DISTRICT COURT
9 SOUTHERN DISTRICT OFICALIFORNIA \
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9 }
11 |} MEDIMPACT HEALTHCARE SYSTEMS, Case No. 08 CV U 4 2 1 JAH POR
INC., a California corporation,
12 ome
Plaintiff, COMPLAINT FOR ... ... 1 la
13 (1) MISAPPROPRIATION OF TRADE :
V. SECRETS; (2) INTENTIONAL
14 INTERFERENCE WITH PROSPECTIVE
PROCARE RX, a Georgia corporation; and ECONOMIC ADVANTAGE;
15 || DANIELLE TAYNAI, an individual, (3) NEGLIGENT INTERFERENCE WITH
PROSPECTIVE ECONOMIC
16 Defendants. ADVANTAGE; (4) UNFAIR
COMPETITION - CAL. BUS. & PROF.
17 CODE § 17200, ET SEQ.; AND
(5) INJUNCTIVE RELIEF
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19
20 Plaintiff MedImpact Healthcare Systems, Inc. hereby sues Defendants ProCare Rx and

21 || Danielle Taynai, and alleges as follows:

22 THE PARTIES
23 1. Plaintiff MedImpact Healthcare Systems, Inc. (““MedImpact”) is, and at all relevant |
24 || times herein was, a California corporation with its principal place of business in the County of |
25 || San Diego, State of California. MedImpact provides full service Pharmacy Benefits Management ;
26 || (“PBM”) services to its clients. MedImpact is an industry leader in the PBM arena.
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2. MedImpact is informed and believes, and based thereon alleges, that Defendant
ProCare Rx is a corporation organized under the laws of Georgia with its principal place of
business in Duluth, Georgia. MedImpact is informed and believes, and based thereon alleges, that
ProCare Rx does business throughout the United States and this judicial district.

3. MedImpact is informed and believes, and based thereon alleges, that Defendant
Danielle Taynai (““Taynai”) is an individual residing in and a citizen of the state of Georgia.

4. MedImpact is informed and believes, and on that basis alleges, that at all times
mentioned herein, each and every Defendant was the agent, servant, employee, joint venturer,
partner, subsidiary, and/or co-conspirator of each other Defendant, and that, in performing or
failing to perform the acts herein alleged, each was acting individually as well as through and in
the foregoing alleged capacity and within the course and scope of such agency, employment, joint
venture, partnership, subsidiary and/or conspiracy, and each other Defendant ratified and affirmed
the acts and omissions of the other Defendant. Plaintiffs are further informed and believe that
each Defendant, in taking the actions alleged herein and/or ratifying the actions alleged herein,
acted within the course and scope of such authority and, at the same time, for their own financial
and individual advantage, as well as in the course and scope of such employment, agency and as
an alter ego therein.

5. Whenever, in this Complaint, reference is made to any actions of ProCare Rx, such
allegations shall mean that the directors, officers, employees or agent of said entity did perform or
authorized the alleged acts or actively engaged in the management, direction and control of such
entity and were acting within the course and scope of their employment. Whenever, in this
complaint, reference is made to any actions of Taynai and/or any other employee or officer of
ProCare Rx, such allegations shall also mean ProCare Rx, acting by and through said individual.

GENERAL ALLEGATIONS

6. From May 2006 until February 2008, Taynai worked for MedImpact in the capacity
of Pharmacy Network Development Administrator. While working with MedImpact, Taynai was
granted access to highly sensitive proprietary information, including information pertaining to

MedImpact’s customers and accounts, pricing structures, reports, processes, business methods,

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identities of key contacts within the industry, information regarding the unique needs and
preferences of particular customers and prospective customers, and other information which is not
obtainable from public sources. Said proprietary information resulted from years of hard work,
information gathering and trial and error by MedImpact.

7. MedImpact maintains the secrecy of its proprietary information by executing
confidentiality agreements with all employees, independent contractors, and all other parties
provided with MedImpact’s confidential information. In addition, MedImpact uses firewalls,
private networks, and other technical mechanisms to ensure the security of MedImpact’s
confidential information. MedImpact also requires registration of all persons given access to
MedImpact’s network, employs “pop up” reminders on company computers each time an
employee logs on to the network and maintains password protection of all confidential information
on its server. MedImpact also requires badges and other security mechanisms to control access to
MedImpact’s facility so as to safeguard its confidential and proprietary information.

8. At the commencement of and during her employment, and as part of MedImpact’s
efforts to protect its proprietary information, Taynai agreed to and did sign multiple confidentiality
agreements and acknowledgments. For instance, when Taynai began work at MedImpact in 2006,
she executed the following confidentiality agreement:

b. Company Confidential Information. I agree at all times to hold
all Confidential Information in confidence and to not disclose, use,
copy, publish, summarize, or remove from the premises of the
Company any Confidential Information, except (a) as necessary to
carry out my assigned responsibilities as a Company employee, and

(b) after termination of my employment, only as specifically
authorized in writing by an officer of the Company.

 

9. That same day Taynai also promised that when she left MedImpact she would
return all MedImpact documents and records as follows:
4, RETURNING COMPANY DOCUMENTS

I agree that, at the time of leaving the employ of the Company, I will
deliver to the Company (and will not keep in my possession or
deliver to anyone else) any and all devices, records, data, notes,
reports, proposals, lists, correspondence, specifications, drawings,
blueprints, sketches, materials, equipment, other documents or
property, or reproductions of any aforementioned items belonging to
the Company, its successors or assigns, whether or not confidential.

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In the event of the termination of my employment, I agree to sign
and deliver the “Termination Certification” attached .. .

10. In late January 2008, Taynai decided to end her employment with MedImpact. She
concealed and misled her supervisors at MedImpact about the fact that she was resigning from
MedImpact to join a direct competitor, ProCare Rx. MedImpact is informed and believes, and
based thereon alleges, that Taynai accepted a position with ProCare Rx as Manager of Pharmacy
Contracting and has recently begun working for the company.

11. On Taynai’s last day at MedImpact in early February 2008, she certified that she
had returned all MedImpact confidential information. On that same day she also acknowledged to
MedImpact’s Human Resource Department her continuing obligations to protect MedImpact’s
confidential information and that she could not bring any MedImpact information with her to her
new employer. Taynai was provided with a memorandum summarizing her continuing obligations
and protocols relating to MedImpact’s proprietary and confidential information, as well as a letter
from MedImpact’s Senior Vice President and General Counsel reminding her of her obligations to
return all MedImpact information. Despite these acknowledgments and reminders, MedImpact is
informed and believes, and based thereon alleges, that Taynai took MedImpact proprietary
information with her when she left.

12. On or about February 21, 2008, Taynai sent an email to a MedImpact employee
confirming that she had shared MedImpact proprietary information with ProCare Rx’s President.
Specifically, Taynai admitted that she provided key contact information for one of MedImpact’s
business associates to ProCare Rx’s President. Taynai further indicated that she had shared a
confidential document and information that she took with her when she left MedImpact with
ProCare Rx’s President. In her email, Taynai further stated that ProCare Rx’s President asked for
an electronic copy of this information. MedImpact’s employee refused to comply with Taynai’s
request for confidential and proprietary information. MedImpact is informed and believes, and
based thereon alleges, that Taynai has made similar requests for confidential information from
MedImpact employees since she left the company and did in fact take a printed copy of a customer

list with her to her new employer.

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13. | MedImpact has demanded that both Taynai and ProCare Rx cease and desist from
using MedImpact’s confidential and proprietary information and return the same to MedImpact,
but Defendants have refused to do so.

JURISDICTION AND VENUE

14. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§ 1332, as there is complete diversity between the Plaintiff and all Defendants and the amount in
controversy exceeds the sum of $75,000.00.

15. | Venue is proper in this district under 28 U.S.C. § 1391, because a substantial part
of the acts of trade secret misappropriation, unfair competition and interference with economic
relationships complained of herein have occurred and are occurring in this judicial district.

FIRST CAUSE OF ACTION
MISAPPROPRIATION OF TRADE SECRETS
(Against All Defendants)

16. MedImpact hereby incorporates by this reference Paragraph 1 through 15,
inclusive, as if set forth fully herein.

17. At all times relevant herein, MedImpact was in possession of trade secrets in its
confidential and proprietary information related to its customers and accounts, including unique
customer preferences, contracts, pricing structures, reports, processes, business methods,
marketing and business plans, identities of key contacts within the industry, and other information
which is not obtainable from public sources. This information has economic value in that it
enables MedImpact to offer and provide Pharmacy Benefits Management services customized to
the unique needs and circumstances of each customer. Said information is not generally known to
the public or to the managed pharmacy benefits industry, and derives independent economic value
from not being known to the general public or to the relevant industry.

18. | MedImpact has expended a significant amount of time and resources in developing
its proprietary information. In addition, MedImpact goes to great lengths to protect the secrecy of
this information by executing confidentiality agreements with all employees, independent

contractors, and all other parties provided with MedImpact’s confidential information, maintaining

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1 || firewalls, private networks, and other technical mechanisms to ensure the security of MedImpact’s
2 || confidential information, labeling certain written communications as confidential, and requiring
3 || registration of all persons given access through MedImpact’s network, employing passwords and
4 ||reminder “pop up” screens and several other security mechanisms to protect MedImpact’s
5 || confidential information.

19. MedImpact is informed and believes, and based thereon alleges, that in or about
February 2008, Taynai misappropriated proprietary customer and business information belonging

to MedImpact and provided that information to her new employer, ProCare Rx. More specifically,

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and at a minimum, Taynai took with her a hard copy of a document that contains a listing of all of
10 |] MedImpact’s customers and confidential information unique to each. MedImpact is informed and
11 || believes, and based thereon alleges, that Taynai shared this list and it contents with ProCare Rx’s
12 || President, who then requested an electronic copy of the document. Taynai further provided
13 || ProCare Rx’s President with contact information for a particular business associate of MedImpact
14 || that she learned of solely by virtue of her employment with MedImpact. MedImpact is informed
15 || and believes, and based thereon alleges, that this is just the tip of the iceberg, and that Taynai and
16 || ProCare Rx have willfully misappropriated other information that is confidential and proprietary
17 || to MedImpact.

18 20. | MedImpact is informed and believes, and based thereon alleges, that ProCare Rx
19 || knew or should have known that the information provided by Taynai was taken from and belonged
20 || to MedImpact, Taynai’s former employer. MedImpact is informed and believes, and based
21 || thereon alleges, that ProCare Rx willingly accepted information from Taynai that it did not have
22 || prior to her employment with ProCare Rx, and asked Taynai for more information, knowing that
23 || information came from MedImpact. MedImpact is further informed and believes, and on that
24 || basis alleges, that ProCare Rx performed no due diligence to ensure that Taynai did not share
25 |j confidential MedImpact information with ProCare Rx and actually encouraged Taynai to
26 || misappropriate MedImpact information for the benefit of ProCare Rx.

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21. As a proximate result of Defendants’ acts as alleged herein, MedImpact has
suffered damages, and will continue to suffer damages, unless Defendants are enjoined from using
the confidential trade secret information they misappropriated and ordered to immediately return
said information, and unless MedImpact obtains actual damages consisting of the loss of
customers and revenues in an amount to be proven at trial.

22. Defendants, in engaging in the aforementioned acts, are guilty of malice and
oppression in that they deliberately intended to harm MedImpact’s business and improve their
own by misappropriation and acted in conscious disregard of MedImpact’s rights. Defendants’
conduct therefore warrants the assessment of punitive damages in an amount appropriate to punish
Defendants and deter others from engaging in similar conduct.

23. Defendants wrongful conduct in misappropriating MedImpact’s confidential
customer and competitive business information and disclosing and utilizing said information will
continue unless and until enjoined and restrained by order of this Court. Without such Court
intervention, Defendants’ conduct in misappropriating MedImpact’s proprietary information will
cause great and irreparable injury to MedImpact’s business, in that MedImpact has lost and will
continue to lose existing and potential clientele and customers.

24. | MedImpact has no adequate remedy at law for the injuries currently being suffered
in that Defendants will continue to wrongfully solicit MedImpact’s existing and potential clientele
and customers and utilize information that was wrongfully misappropriated from MedImpact,
including but not limited to customer information that is not generally available to the public at
large. MedImpact is entitled to a temporary, preliminary and permanent injunction against
Defendants as prayed herein.

25. | MedImpact is informed and believes, and on that basis alleges, that Defendants’
conduct was, and is, malicious, fraudulent, deliberate and willful. MedImpact is therefore entitled
to recover from Defendants exemplary damages in the amount twice the total of the damages
recovered for actual loss as permitted by the California Civil Code §3426.3.

26. MedImpact is also entitled to an award of attorneys’ fees pursuant to California

Civil Code § 3426.4.

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SECOND CAUSE OF ACTION
INTENTIONAL INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
(Against All Defendants)

27. | MedImpact hereby incorporates by this reference Paragraph 1 through 26,
inclusive, as if set forth fully herein.

28. | MedImpact is informed and believes, and based thereon alleges, that as a result of
Defendants’ conduct in misappropriating MedImpact’s confidential customer and business
information and using the same to solicit existing and potential MedImpact customers, which has
had the effect and shall have the effect of interfering with MedImpact’s economic relationships
with existing and potential clientele, MedImpact has been damaged in an amount to be established
according to proof at trial.

29. | MedImpact is informed and believes, and based thereon alleges, that Defendants’
wrongful acts will continue to cause injury to MedImpact and that such injury will continue unless
enjoined and restrained by this Court.

30. | MedImpact is informed and believes, and based thereon alleges, that the acts of
Defendants alleged herein were willful, oppressive, fraudulent, despicable and in conscious
disregard of the rights of MedImpact and the resulting harm to MedImpact. Defendants are liable
for punitive and exemplary damages in amount to be established according to proof at time of
trial.

THIRD CAUSE OF ACTION
NEGLIGENT INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
(Against All Defendants)

31. MedImpact hereby incorporates by this reference Paragraph 1 through 30,
inclusive, as if set forth fully herein.

32. As set forth above, economic and ongoing business relationships existed and exist
between MedImpact and its clientele and customers containing an existing and probable future

economic benefit or advantage to MedImpact.

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33. Defendants knew of the existence of the economic and business relationships
between MedImpact and its clientele and customers by virtue of Taynai’s former employment
with MedImpact.

34. | MedImpact is informed and believes, and based thereon alleges, that Defendants
were negligent in that they knew or should have known that Taynai owed a duty to MedImpact to
maintain the confidentiality and secrecy of MedImpact’s proprietary customer and competitive
business information, yet violated that duty resulting in the misappropriation of said information
and the interference and disruption by Defendants with the actual and prospective economic and
business relationships between MedImpact and its clientele and customers.

35. Because the economic relationships between MedImpact and its clientele and
customers were interfered with and disrupted by Defendants, and as a proximate result of
Defendants’ acts as alleged herein, MedImpact has suffered damages and will continue to suffer
damages consisting of the loss of customers and revenues in an amount to be proven at trial,
unless Defendants are enjoined.

FOURTH CAUSE OF ACTION
UNFAIR COMPETITION - CAL. BUS. & PROF. CODE § 17200, ET SEQ.
(Against All Defendants)

36. | MedImpact hereby incorporates by this reference Paragraph 1 through 35,
inclusive, as if set forth fully herein.

37. | The actions of Defendants described herein in misappropriating MedImpact’s
confidential customer and competitive business information, and other information and property
that belonged to MedImpact and Defendants’ acts of unfairly and fraudulently soliciting
customers, constitutes unlawful, unfair and fraudulent business acts and practices, in violation of
California Business & Professions Code §§ 17200, et seq. (“SUCL”).

38. As a direct result of Defendants’ acts of unfair competition under the UCL,
MedImpact has suffered and will continue to suffer harm as described herein, and such harm will
continue unless the Court enjoins and restrains Defendants’ actions.

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1 39. | Defendants should be required to restore to MedImpact any and all of MedImpact’s
2 || confidential, trade secret information and any other information of MedImpact in Defendants’
3 || possession, custody or control. MedImpact also seeks injunctive relief to stop ProCare Rx from
4 || unfairly soliciting MedImpact’s current and potential customers. Further, MedImpact seeks
5 || injunctive relief for the return of its information wrongfully obtained through appropriate
6 || restitution and any other property wrongfully taken.

7 40. As a proximate and legal result of Defendants’ wrongful conduct, MedImpact has

8 || been damaged in its business relationships with potential and existing clientele and customers, and
9 || has suffered harm in the form of lost sales, loss of reputation, loss of the ability to control access
10 || to its trade secrets and loss of goodwill. As detailed herein, MedImpact seeks an order granting
11 || MedImpact and the general public relief from Defendants’ deceptive, unfair and fraudulent trade

12 || practices.

 

 

13 FIFTH CAUSE OF ACTION

14 INJUNCTIVE RELIEF

15 (Against All Defendants)

16 41. MedImpact hereby incorporates by this reference Paragraph 1 through 40,

17 || inclusive, as if set forth fully herein.

18 42. Beginning in or about February 2008, and continuing to the present time,
19 |! Defendants wrongfully and unlawfully misappropriated confidential and proprietary information
20 || belonging to MedImpact, as described in greater detail herein, and unfairly solicited customers.

21 43. | MedImpact has demanded that Defendants stop their wrongful conduct and return
22 || MedImpact’s confidential and proprietary information. Defendants have refused and continue to
23 || refuse to refrain from their misconduct, and prompt judicial action is therefore necessary to protect
24 || MedImpact’s interest in and control over its intellectual property and to stop ProCare Rx’s unfair
25 |} competition.

26 44. MedImpact has no adequate remedy at law for the injuries already suffered and
27 || likely to be suffered as a result of Defendants’ wrongful actions, as it will be impossible for

28 || MedImpact to determine the precise amount of damages it will suffer if Defendants’ conduct is not

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restrained. Moreover, if Defendants are not enjoined it will be impossible for MedImpact to
maintain control over its intellectual property and to prevent further disclosure of its highly
confidential and proprietary information to third parties. Monetary damages will not sufficiently
compensate MedImpact for the losses sustained as a result of Defendants’ wrongful acts.

45. As a proximate result of Defendants’ acts as alleged herein, MedImpact has
suffered damages, and will continue to suffer damages, unless Defendants are enjoined from using
the confidential trade secret information that was misappropriated and ordered to return said
information.

PRAYER FOR RELIEF

WHEREFORE, MedImpact demands judgment against Defendants as follows:

1. For compensatory damages, according to proof, with interest thereon as provided
by law;

2. For consequential and actual damages, according to proof, or disgorgement of

ProCare Rx’s profits and/or a reasonable royalty, with interest thereon as provided by law;

3. For exemplary damages;
4, For injunctive relief;
6. For its attorneys’ fees;
7. For costs of suit as provided for by law; and
8. For such other relief as the Court deems just and proper.
DATED: March 5, 2008 LUCE, FORWARD, HAMILTON & SCRIPPS LLP
By: ‘

 

Andrea M. Kimball

Michelle A. Herrera

Attorneys for Plaintiff MedImpact Healthcare
Systems, Inc.

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1 DEMAND FOR JURY TRIAL

2 Plaintiff MedImpact Healthcare Systems, Inc. hereby demands a trial by jury pursuant to
3 || Rule 38 of the Federal Rules of Civil Procedure.

4 || DATED: March 5S, 2008 LUCE, FORWARD, HAMILTON & SCRIPPS LLP

Andrea M. Kimball

Michelle A. Herrera

Attorneys for Plaintiff MedImpact Healthcare
Systems, Inc.

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UNITED STATES
DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
SAN DIEGO DIVISION

# 148433 — SH
March O5, 2008
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Civ Fil Non-—Pris
USAQ #.: O8CV0421
Judge..: JOHN A HOUSTON
Amount. $350.00 CK
Check#.: BC35799

Total-—-> $350.00

FROM: MEDIMPACT V. PROCARE RX

 
> VIE. RELATED CASE(S)

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Case 3:08-cv-00421-POR

® IS 44 (Rev. 12/07)

The JS 44 civil cover sheet and the information containe

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ein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided

by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS
MEDIMPACT HEALTHCARE SYSTEMS, INC.

DEFENDANTS
PROCARE RX, a Georgia corporation; and DANIELLE TAYNAI, an

individual i ib f- DN

County of Residence of First Listed Defendant Gwinnett County

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Co
Attodneys (If Known) son hay’: DISTRICT COURT

(b) County of Residence of First Listed Raintiff San Diego
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorney’s (Firm Name, Address, and Telephone Number)

|

. TRICT OF CALIFOR MEA
Andrea M. Kimball, State Bar No. 196485 Elizabeth L. Clack-Freeman cr CALIFORNIA
Luce, Forward, Hamilton & Scripps LLP Andersen, Tate & Carr, P.C. C

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Tel: 619.236.1414; Fax: 619.645.5323

Lawrence. CHS US 21 JAH POR

Tel: 770.822.0900; Fax: 822.9680

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box feria
(For Wiversity Cases Only) and One Box for Defendant
PTF DEF PTF DEF
(1 US. Government 3 Federal Question Citizen of This State Ki [11 Incorporated or Principal Place Qa Oa
Plaintiff (U.S. Government Not a Party) of Business In This State
oO 2 U.S. Government 4 Diversity Citizen of Another State oO 2 & 2 Incorporated and Principal Place oO 5 4 5
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a [13 [43> Foreign Nation C6 Oe
Foreign Country
1V. NATURE OF SUIT (Place an “x” in One Box Only)
CONTRACT TORTS ~ FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY__| PERSONAL INJURY __|[_] 610 Agriculture H 422 Appeal 28 USC 158 400 State Reapportionment
120 Marine 310 Airplane (1) 362 Personal Injury— Ls 620 Other Food & Drug 423 Withdrawal 410 Antitrust
130 Miller Act 315 Airplane Product Med. Malpractice {LJ 625 Drug Related Seizure 28 USC 157 430 Banks and Banking
140 Negotiable Instrument Liability CO 365 Personal Injury — of Property 21 USC 881 450 Commerce
150 Recovery of Overpayment {((} 320 Assault, Libel & Product Liability 630 Liquor Laws PROPERTY RIGHTS 460 Deportation
& Enforcement of Judgment Slander (0) 368 Asbestos Personal 640 R.R. & Truck 820 Conyrich 470 Racketeer Influenced and
H 151 Medicare Act (7) 330 Federal Employers’ Injury Product 650 Airline Regs. 830 Parte ts Corrupt Organizations
152 Recovery of Defaulted Liability Liability 660 Occupational 840 Text k 480 Consumer Credit
Student Loans 340 Marine PERSONAL PROPERTY Safety/Health rademar 490 Cable/Sat TV
Oo (Excl. Veterans) 345 Marine Product 370 Other Fraud I] 690 Other 810 Selective Service
153 Recovery of Overpayment Liability : . 850 Securities/Commodities/
. 371 Truth in Lending ~
of Veteran's Benefits 350 Motor Vehicle 380 Other Personal 8 LABOR SOCIAL SECURITY Exchange
160 Stockholders’ Suits 355 Motor Vehicle Property Damage CJ 710 Fair Labor Standards 861 HIA (1395ff) [-)875 Customer Challenge
190 Other Contract Product Liability CO 385 Propeny Damage Act 862 Black Lung (923) 12 USC 3410

195 Contract Product Liability
196 Franchise

890 Other Statutory Actions
891 Agricultural Acts

(C1360 Other Personal Injury 720 Labor/Mymt. Relations

730 Labor/Mgmt.Reporting

863 DIWC/DIWW (405(g))

Product Liability 864 SSID Title XVI

 

 

 

 

REAL PROPERTY CIVIL RIGHTS _|PRISONER PETITIONS & Disclosure Act 865 RSI (405(g)) 9s Eronomic Stabilization Act
- - 740 Railway Labor Act nvironmental Matters
{-] 210 Land Condemnation ["] 441 Voting [LJ 510 Motions to Vacate 790 Other Labor Litigation 894 Energy Allocation Act
220 Foreclosure 442 Employment Sentence 791 Empl. Ret. Inc. FEDERAL TAX SUITS [C1895 Freedom of Information
230 Rent Lease & Ejectment 443 Housing/ Habeas Corpus: Security Act — Act
240 Torts to Land Accommodations 530 General (DD 870 Taxes (U.S. Plaintiff (1900A ppeal of Fee Determination

245 Tort Product Liability
290 All Other Real Property

or Defendant)

444 Welfare
(CO 871 IRS—Third Party

445 Amer. w/Disabilities -

535 Death Penalty

Under Equal Access
540 Mandamus & Other

to Justice

 

A

IMMIGRATION

 

 

 

 

 

 

 

Employment 550 Civil Rights _ 462 Naturalization Application 26 USC 7609 (1950 Constitutionality of
) 446 Amer. w/Disabilities -[] 555 Prison Condition 463 Habeas Corpus - State Statutes
Other a
soa pe Alien Detainee
1) 440 Other Civil Rights C) 465 Other Immigration
Actions
V. ORIGIN (lace an “X” in One Box Only) Transferred from Appeal to District
&J 1 Original (12 Removed from []3 Remanded from (1 4Reinstated or (7) 5 another district CJ 6 Multidistrict (1) 7 Judge from
Proceeding State Court Appellate Court Reopened (specify) Litigation Magistrate
Judgment

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Diversity - 28 U.S.C. section 1332.

Brief description of cause:

Misappropriation of trade secrets; intentional interference with prospective economic advantage; negligent
interference with prospective economic advantage; unfair competition and injunctive relief.

(1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
UNDER F.R.C.P. 23 JURY DEMAND: Yes [J No

 

VI. CAUSE OF ACTION

 

VII. REQUESTED IN
COMPLAINT:

(See instructions):

 

 

 

IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF REG@RD .
March) , 2008 Andrea M. Kimball PO
FOR OFFICE USE ONLY
RECEIPT ¢ _/ [43 amount SO appLyinc rp JUDGE MAG. JUDGE wwe Formetvorkfiow.com

 

 

 

 

 
